976 F.2d 736w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.BURBANK-GLENDALE-PASADENA AIRPORT AUTHORITY, a Joint PowersAgency, Plaintiff-Appellee,v.CITY OF LOS ANGELES, a California Municipal Corporation,Defendant-Appellant.
    Nos. 90-56144, 91-55175.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Aug. 17, 1992.Decided Sept. 23, 1992.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    